                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE



  UNITED STATES OF AMERICA                      )
                                                )                     Case No. 4:12-CR-005-001
               vs.                              )
                                                )
  JACOB BARNES                                  )


                                MEMORANDUM AND ORDER

        This action came to the attention of the undersigned on Thursday, July 12, 2012, from United

 States Probation Officer (USPO) Donna Rankin. She advised that Alcohol, Tobacco and Firearms

 Agent (ATF) Stephen Gordy, advised USPO Rankin that Defendant Jacob Barnes was potentially

 in violation of his Order Setting Conditions of Release, in that, he was known to have been drinking

 alcohol at Applebee’s in McMinnville, Tennessee, on July 9, 2012. Also, on this same date, three

 hours after the consumption of alcohol, Defendant Jacob Barnes was breathalyzed by local law

 enforcement. Mr. Barnes registered .04 on the BAC. Defendant Barnes was also in violation of his

 Electronic Monitoring condition, in that he did not have permission to be at Applebee’s.

        Both the United States Attorney Anne-Marie Svolto and Defense Attorney John P. Partin

 were notified by USPO Donna Rankin of the violations. After which, Attorney John P. Partin

 advised that Defendant Barnes wished to come off of the bond and go directly into the custody of

 the United States Marshals Service in lieu of a bond revocation hearing.

         Following advice of counsel, Defendant Jacob Barnes self surrendered to the United States

 Marshal’s Service on July 11, 2012, and he wishes to begin receiving jail credit.




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        Having considered the matter, the previous Order setting the defendant’s bond and his

 Conditions of Release is null and void.

        SO ORDERED.

        ENTER.


                                           s/William B. Mitchell Carter
                                           UNITED STATES MAGISTRATE JUDGE




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